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AO 106 (Rev. 04/10} Application for a Search Warrant

 

 

UNITED STATES DISTRICT COURT
for the NOV 06 2019

Southern District of California

 

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CLERK US DISTRICT GOURT
In the Matter of the Search of SOUTHERN DISTRICT OF carom
(Briefly describe the property to be searched BY
or identify the person by name and address)
Black Samsung Galaxy S8 Model: SM-G950U with
Cracked Rear Upper and Lower Back Glass; IMEI No:

19M 54932
354023081 115457 (Target Device 2)

APPLICATION FOR A SEARCH WARRANT

 

Case No.

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A2.
located in the Southern District of California , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B.

The basis for the search under Fed. R, Crim. P. 41(c) is (check one or more)!
of evidence of a crime;
O contraband, fruits of crime, or other items illegally possessed;
1 property designed for use, intended for use, or used in committing a crime:
7 a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:

Code Section Offense Description
21 U.S.C. Sections 952 & 960 Importation of a Controlled Substance

The application is based on these facts:
See attached affidavit from SA Lawlor

mM Continued on the attached sheet.
4 Delayed notice of days (give exact ending date if more than 30 days: ) is requested

under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

\ ppplicant ’s signature

Nicholas Lawlor, Special Agent
Prinied name and title

Sworn to before me and signed in my presence.

Date: ii u) 9 _AMA2 rr . Atroe~a

Judge's signature

 

 

City and state: San Diego, California Honorable Allison H. Goddard U.S, Magistrate Judge

Printed name and litle

 

 

 
